                             IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  In re:

             GVM, Inc.,                                      Chapter 11

                                             Debtor.         Bankruptcy No. 19-03013

  In re:

             Independent AG Equipment, Inc.,                 Chapter 11

                                             Debtor.         Bankruptcy No. 19-03014

  In re:

             GVM West, Ltd.,                                 Chapter 11

                                             Debtor.         Bankruptcy No. 19-03015


     NOTICE OF DEBTORS’ MOTION FOR AN ORDER AUTHORIZING JOINT ADMINISTRATION

 NOTICE OF OPPORTUNITY TO OBJECT AND HEARING:

          Pursuant to Local Rule 2002-1(a), the Court will consider this Motion of the Debtors for an Order
 Authorizing Joint Administration without further notice or hearing unless a party in interest files an
 objection/response on or before twenty-one (21) days, or by August 8, 2019. If you object to the relief requested,
 you must file your objection/response with the Clerk of Court and serve a copy on the movant and the movant’s
 attorney, if one is designated.

          If you file and serve an objection/response within the time permitted, the Court may schedule a hearing and
 you will be notified. If you do not file an objection within the time permitted, the Court will deem the motion
 unopposed and proceed to consider the motion without further notice or hearing, and may grant the relief requested.

 Dated: July 17, 2019                                           CIARDI CIARDI & ASTIN

                                                       By:     /s/ Jennifer C. McEntee
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 Address of the Bankruptcy Clerk’s Office:
 U.S. Bankruptcy Court
 Attn: Clerk’s Office
 Ronald Reagan Federal Building
 228 Walnut Street Rm 320
 Harrisburg, PA 17101




Case 1:19-bk-03014-HWV Doc 21-2 Filed 07/17/19 Entered 07/17/19 16:57:48                                         Desc
                      Notice of Motion (Passive) Page 1 of 1
